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 STATE OF MINNESOTA                                                         DISTRICT COURT

COUNTY OF HENNEPIN                                              FOURTH JUDICIAI. DISTRICT

                                                                  Case Type: Employment
                                                                  Case No.:
Lorie M. Hane,

                Plaintiff,

v.                                                                       SUMMONS

Laboratory Corporation of America,

               Defendant



THE STATE OF MINNESOTA TO THE ABOVE=NAMED DEFENDANTSs

You are hereby summoned and required to serve upon Ms. Hane's attorney an Answer to the
Complaint which is herein served upo.n you, within Twenty (20) days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
will be taken against you for the relief-demanded in the complaint.

Pursuant to Minn: Stat. § 543.22, you are further notified that under the Minnesota Rules of
General Practice, all civil_ cases are subject to..Alternative Dispute Resolution (ADR), except
forthose actions in Minn. Stat..§ 484.76 and Minn._Gen. R. Prac.111.01 and 310.01. The Court
Administrator of the above-captioried Court can provide you with information about ADR`
processes and neutrals.


                                                    HEIMERL & LAMMERS, LLC.




Dated: O l ' 03 ' ,?n1f(
                                                    TAYLOR B. CUNNINGHAM (#0400041)
                                                    MICHAEL B. LAMMERS (#0389004)
                                                    Attorneys for Ms. Hane
                                                    901 North Third Street, Suite 110
                                                    Minneapolis, MN 55401
                                                    (612) 294-2200
                                                    mike@hllawfirm.com
                                                    taylorc@hllawfirm.com




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 STATE OF MINNESOTA                                                                                                DISTRICT COURT

 COUNTY OF HENNEPIN                                                                                       FOURTH JUDICIAL DISTRICT
                    .... ...                    ..                                 _ . ...     . ._..
                                                                                                              Case Type: Employment
                                                                                                              Case No.:
 Lorie M. Hane,

                  Plaintiff,

 V.                                                                               COMPLAINT AND JURY DEMAND

 Laboratory Corporation of America,

                  Defendant.
                               . _.... _._.._         .. .___......._ ......... ... ......                         __. _   ..
                                                                                             :.. .   ..                         ...... .


          Plaintiff Lori M: Hane,.as and for her.claims and causes of action against Defendant,

states and alleges as follows:

                                                     INTRODUCTI.ON.

         1.       In this case, Lori Hane was terminated by Defendant after requesting

reasonable accommodations for her disability and.for reporting her supervisor for sexual

harassment. Ms. Hane now seeks dainages she sustained as a result of Defendant's violations

of the Minnesota Human Rights Act, the Americans with Disabilities Act, and Title VII of the

Civil Rights Act of 1964..

                                                         PARTIES

         2.       Plaintiff Lorie M. Hane, at all times relevant, was a resident of Crystal,

Minnesota and was employed by Defendant with the job title of Phlebotomist.

         3.      Defendant Laboratory Corporation of America, hereinafter "Defendant," is a                                                                      ~

- Delaware    corporation doing business in Minnesota. Defendant's registered office address is                                                                  '




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2345 Rice Street, Ste. 230, Roseville, MN 55113. Defendant is engaged in the business of

providing medical lab services and employs more than 25 employees.

                                         jURISDICTI.ON.

       4.      This is the proper jurisdiction and venue as the events giving rise to this cause

of action occurred in Hennepin County.

       S.      The U.S. Equal Employment Opportunity Commission (EEOC) issued a Right-

to-Sue letter on or about.November 7, 2018. This Complaint is being filed within 90-days

after receiving said letter.

       6.      Both parties were engaged- in a dispute resolution pr.ocess       up   to and until

September 26, 2018, the date of an EEOC-facilitated mediation.

                                              FACTS

       7.      Ms. Hane is disabled due to her. diagnoses of Ehlers-Danlos disease and

Arnold-Chiari deformity.

       8.      Ms. Hane's disability limits at least one rnajor life activity.

       9.      In.or about October 2017, Ms. Hane interviewed for a positionwith LabCorp.

The interview was three hours in length.

       10.     During Ms. Hane's interview, Elizabeth Hyser, a supervisor for Defendant,

pulled down her pants to show a scar on her lower-stomach from a recent cosmetic surgery

and discussed her boyfriend and their sexual relations and problems.

       11.     Ms. Hane began working for LabCorp on or about October 31, 2017.

       12.    At the time of hire, LabCorp was aware of Ms. Hane's disabilities and allowed

for accommodations.




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        13.    During her time as an employee of LabCorp, Ms. Hane was asked by Elizabeth

Hyser if her breasts were real, and whether she had had breast revision surgery.

        14.    In or about November 2017, Ms. Hane's supervisor, Elizabeth Hyser, discussed

her personal life, including her boyfriend and his sexual addiction issues, including infidelity

and pornography, with Ms. Hane. These discussions occurred before, during, and after work

on several different occasions.

       15.    Ms. Hane was late to work on multiple occasions because of Elizabeth Hyser's

inappropriate discussions with her. Elizabeth Hyser told Ms. Hane she would fix her

attendance time.

       16.    In or about January 2018; Ms: Hane demanded that Elizabeth Hyser stop

discussing her personal and sex life with Ms. Hane. By doing so, Ms. Hane indicated that these

discussions were unwelcome.

       17.    In or about January 2018, Ms. Hane informed LabCorp that she would like to

move to a different iocation, away from Elizabeth Hyser. Ms. Hane was instructed to handle

this situation herself and her request was denied by Elizabeth Hyser.

       18.    In or about March 2018, Elizabeth Hyser stated to Ms. Hane that Ms. Hane was

a nuisance and that she wished she had never hired Ms. Hane.

       19.    In or about March 2018, Ms. Hane complained of sexual harassment to the

Human Resources department.

       20.    In or about April 2018 Ms. Hane was told she would be moved to the high-
                                                                                                                    i
volume office in Edina.




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       21.    In or about Apri12018; uponbeing told she would be moved to the Edina office,

Ms. Hane inquired about her accommodations of seeing her doctors twice per month.

Elizabeth Hyser stated it would not be possible to accommodate Ms. Hane.

       22.    In or about Apri12018, Ms. Hane began working at the Edina office.

       23.    In or about April 2018; Ms. Hane; along with her physician, once again,

requested accommodations.

       24.    In or about May 2018, Defendant rejected Ms. Hane's accommodations

request. Ms. Hane's request was to miss. 440-minutes of work per month in order to see her

doctors twice per month.

       25.    In   or   about May 2018, Elizabeth Hyser stated .to Ms. Hane that Human

Resources would not fire her, but that she real.ly wanted Ms. Hane gone.

       26.- On or about May 23, 2018, Ms. Hane's heartwent into Atriai Fibrillation, which

was caused by a combination of her disability and stress.

       27.    On or about May 23, 2018,.Ms. Hane went to the Emergency Room and was

subsequently admitted to the Ho§pital:

       28.    Ms. Hane missed work on May 23, May 24, and for one hour on May 25, 2018.

      29.     On or about May 25, 2018, Ms. Hane returned to work.

      30.     On or about May 31, 2018, Defendant terminated Ms. Hane's employment.

                                    .CAUS.ES OF-ACTION

COUNT 1: VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT (DISABILITY
DISCRIMINATION)

Ms. Hane incorporates the preceding paragraphs and further alleges:

      31.    Minn. Stat. § 363A.08, subd. 2(2)-(3), provides in relevant part:



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                Except when based on a bona fide occupational qualification, it is an
                unfair employment practice for an employer, because of race, color,
                creed, religion, national origin, sex, marital status, status with regard to
                public assistance, familial status, membership or activity .in a local
                commission, disability, sexual orientation, or age to:
                (2) discharge an employee; or
                (3) discriminate against a person with respect to hiring, tenure,
                compensation, terms, upgrading, conditions, facilities, or privileges of
                empl oyment.                                                                                           :

        32.     Ms. Hane is disabled under the Minnesota Human Rights Act because she has

Ehlers-Danlos disease and Arnold-Chiari deformity.

        33.     Ms. Hane's disability iimits at least one, if not more, major life activities.

        34. . Defendant had notice. of Ms. Hane's disability..

       .35.     In or about April 2018, Ms. Hane requested reasonable accommodations,

which would allow her to visit her doctors twice:per rnonth: This would cause her to miss a

total of 40 minutes of work per month.

        36.    In or about May 2018, Defendant rejected Ms. Hane's accommodation request.

       37.     On.or about May 23, 2018, Ms. Hane was hospitalfzed due to complications

from her disability, combined with stress.

       38.     On or about May 25, 2018, Ms. Hane returned to work.

       39.     On or about May 31, 2018, Defendant terminated Ms. Hane.

       40.     Ms. Hane suffered adverse employment actions, namely termination, because

of her disability.

       41.     Defendant terminated Ms. Hane, at least in part, because of her disability.

       42.     The above-described actions taken by Defendant constitute a violation of the

Minnesota Human Rights Act.




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       43.      As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits and has suffered and will continue to suffer mental and emotional pain                            •

and angu-ish and compensatory damages in an amount to be determined at trial.

COUNT 2: VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT (DISABILITY
DISCRIMINATION - FAILURE TO ACCOMODATE)

Ms. Hane incorporates the preceding paragraphs and further alleges:

       44.      Minn. Stat. § 363A.08, subd. 6(a), provides in relevant part:

                Except when based on a bona fide occupational qualification, it is an unfair
                employment practice for an employer ... not to make reasonable
                accommodation to the known disability of a qualified disabled person or job
                applicant unless the employer, agency, or organization can demonstrate that
                the accommodation would impose an undue hardship on the business, agency,
                or organization.

       45.      Ms: Hane was a qualified person who possessed the requisite skill, education,

experience, and training for her position at a phlebotomist.

       46.      Ms. Hane was able to perform the essential job functions of her position with

r.easonable accommodations.

       47.      Despite this, ' Defendant refused to provide her with reasonable

accommodations, namely to see her doctors twice per month, causing. her to miss a total of

40 minutes of work per month.


       48.      The above-described actions taken by Defendant constitute a violation of the

Minnesota Human ltights Act.

      49.       As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits and has suffered and will continue to suffer mental and emotional pain

and anguish and compensatory damages in an amount to be determined at trial.



         1...            _.__.._._._.. _...   .   -...   6.



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COUNT 3: VIOLATION OF THE AMERICANS WITH DISABILITIES ACT (DISABILITY
DISCRIMINATION)

Ms. Hane incorporates the preceding paragraphs and further alleges:

       50.    42 U.S. Code § 12112, sub. (a), provides in relevant part:

              No covered entity shall discriminate against any qualified individual on
              the basis of disability in regard to job application procedures, the
              hiring, advancement, or discharge of employees, employee
              compensation, job training, and other terms, conditions, and privileges
              of employment.

       51.    Ms. Hane is disabled under the Americans with Disabilities Act because

she has Ehlers-Danlos disease and Arnold-Chiari deformity.

       52.    Ms. Hane's 'disability limits at least one, if nbt more, major life activities.

       53.    Ms. Hane is qualified to perform the essential job functions of a Phlebotomist

given her education and training.

       54.    Ms. Hane was able to perform the essential job functions of her position with

reasonable accommodations.,

       55.    In- or about April 2018, :Ms. Hane requested reasonable accommodations due

to her disability. The request was to see her doctors twice-.per month, causing her to miss a

total of 40 minutes of work per month.

       56.    In or about May 2018, Defendant rejected Ms. Hane's accommodation request.

       57.    On or about May 23, 2018, Ms. Hane was hospitalized due to complications

from her disability, combined with stress.

       58.    On or about May 25, 2018, Ms. Hane returned to work.

       59.    On or about May 31, 2018, Defendant terminated Ms. Hane.

       60.    Ms. Hane suffered adverse employment actions because of her disability when

her accommodations request was rejected and when she was terminated.
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        61.    Defendant terminated Ms. Hane, at least in part, because of her disability

        62:    The above-described action taken by Defendant constitutes a violation of the

Americans with Disabilities Act.

        63.    As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits and has suffered and will continue to suffer mental and emotional pain

and anguish and compensatory damages in an amount to be determined at trial:

COUNT 4: VIOLATION OF THE AMERI.CANS WITH DISABILITIES ACT (DISAB1iLITY
DISCRIMINATION- FAILURE TO ACCOMODATE)

Ms. Hane incorporates the preceding paragraphs and further alleges:

       64.     Pursuant to 42 U.S. Code § 12112,.sub. (b)(5), the term "discriminafie against-a

qualified individual on the basis of disability," as used in §'12112, subd. (a), includes not

making reasonable accommodations to the known physical or mental lirnitations of an

otherwise qualified employee with a disability.

       65.    Ms. Hane was a qualified person who possessed the requisite skill, education,

experience, and trainirig for her position as a phlebotomist..

       66.    Ms. Hane was able to perform the essential job functions of her position with

reasonable accommodations.

       67.    Despite this, Defendant refused to provide her with reasonable

accommodations, namely to see her doctors twice per month, causing her to miss a total of

40 minutes of work per month.

       68.    The above-described action taken. by Defendant constitutes a violation of the-                       ,

Americans with Disabilities Act.




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        64.    As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits and has suffered and will continue to suffer mental and emotional pain

and anguish and compensatory damages in an amount to be determined at trial.

COUNT 5: VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT (SEXUAL
HARASSMENT)

Ms. Hane incorporates the preceding paragraphs and further alleges.:

       70.    Minn. Stat § 363A.08, subd. 2(3), provides in relevant part:

              Except when based on a bona fide occupational .qualification, it is unfair
              employment practice for an employer, because of race, color., creed,
              religion, national origin, sex, marital status; status with regard to public
              assistance, familial status, membership or activity in a local
              commissio.n, disability, sexual orientation, or age to:
              (3) discriminate against a person with respect to hiring, tenure,
              compensation, terms, upgrading, conditions, facilities, or privileges .of
              ernployment

       71.    During her interview with Ms. Hyser in or about October 2017, Elizabeth

Hyser discussed her personal life, including her sex life, with Ms. Hane. Also during .the

iriterview, Ms. Hyser pulled down her pants to display a scar on her lower-stomach..from a

recent cosmetic surgery.

       72.    During her time as an employee of LabCorp, Ms. Hane was asked by Elizabeth

Hyser if her breasts were real, and whether she had had breast revision surgery.

       73.    In or about November 2017, Elizabeth Hyser again discussed her personal life,

including her boyfriend's infidelity, his sex addiction and the pornography he was viewing,

on numerous occasions with Ms. Hane. These discussions took place before, during, and after

work hours.

       74.    In or about November 2017, Elizabeth Hyser caused Ms. Hane to be late to

work due to her personal and sexually-explicit discussions.

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           7S.    In or about November 2017, Elizabeth Hyser promised Ms. Hane that she

    would hx Ms. Hane's attendance time, so it would read that Ms. Hane was not late.

           76.    In or about January 2018, Ms. Hane complained to both Elizabeth Hyser and

    Defendant's Human Resources department about the unwelcome and inappropriate

    sexually-explicit discussions.

           77.    In or about January 2018, Defendant had knowledge of Ms. Hane being

I   harassed. Defendant's Human Resources department told Ms.-Hane to handle the situation

    herself.

           78.    In or about January 2018, Defendant effectively denied Ms. Hane's request to

    discontinue working with Elizabeth Hyser by leaving the decision with Elizabeth Hyser, who

    then denied the request.

           79.                        ` Ms. Hane again complained of being sexually harassed
                  In or about March 2018,                                                                                 `

    to the Human Resources department.

           80.    The above-descr.ibed actions taken by Defendant constitute violation of the
                                                                                   a




    Minnesota Human Rights.Act.

           81.    As a result of these unlawful actions, Ms. Hane has been harmed and has lost

    salary and benefits and has suffered and will continue to suffer mental and emotional pain

    and anguish and compensatory damages in an amount to be determined at trial.

    COUNT 6: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 (SEXUAL
    HARASSMENT)

    Ms. Hane incorporates the preceding paragraphs and further alleges:

           82.    Section 703 (a)(1) of Title VII, 42 U.S.C. § 2000e-2(a), provides in relevant part:

                 It shall be an unlawful employment practice for an employer:
                 (1) to fail or refuse to hire or to discharge any individual, or otherwise
                 to discriminate against any individual with respect to his
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               compensation, terms, conditions, or privileges of employment, because
               of such individual's race, color, religion, sex, or national origin.

        83.    During her interview with Ms. Hyser in or about October 2017, Elizabeth

Hyser, discussed her personal life, including her    sex   life, with Ms. Hane. Also during the

interview, Ms. Hyser pulled down her pants to display a scar on her lower-stomach from a

recent cosmetic surgery.

       84.     During her time as an employee at LabCorp, M.S. Hane was asked by Elizabeth

Hyser if her breasts were real, and whether she had had breast revision surgery.

       85.     In or about November 2017, Elizabeth Hyser again discussed her personal life,

including her boyfriend's infidelity,. his sex addiction and the -pornography he was viewing;

on numerous occasions with 1VIs. Hane. These discussions took place before, during,: and after

work hours.

       86.     In or about November 2017, Elizabeth Hyser caused Ms. Hane to be late to

work ori several occasions, as a result of her discussions about sex.

       87.    In or about November 2017, Elizabeth Hyser pr.omised Ms. Hane. that she

would fix Ms. Hane's attendance time, so it would read that IVIs. 'Hane was not late.

       88.    In or about January 2018, Ms. Hane complained of harassment to Elizabeth

Hyser, requesting she stop having sexual discussions with Ms. Hane, indicating that'these

discussions were unwelcome.

       89.    In or about January 2018, Ms. Hane complained to Defendant's Human

Resources department about the unwelcome and inappropriate discussions.

       90.    Defendant had lcnowledge of Ms. Hane being harassed. Defendant's Human

Resources department told Ms. Hane to handle the situation herself.



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        91.    In or about January 2018, Defendant effectively denied Ms. Hane's request to

discontinue working with Elizabeth Hyser by leaving the decision with Elizabeth Hyser, who
      ~
then denied the request.

       92.     In or about March 2018, Ms. Hane again complained of being sexually harassed

to the Human Resources department.

       93.     The above-described actions taken by Defendant constitute a violation of Title

VII of the Civil Rights Act of 1964.

       94:     As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits and has suffered and will continue to suffer mental and emo.tional pain

and,ang.uish and'compensatory damages in an amount to be determined at trial:

COUNT 7: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 (REPRISAL)

Ms. Hane incorporates the preceding paragraphs and further alleges:

       95.    Section 704(a) of Title VII, 42 U.S.C. § 2000e-3 (a), provides in relevant part:

              It shall be. an unlawful employment practice for an employer to
              discriminate : against any of his . employees or applicants. for
              employment, for an. employment agency, or .joint.labor-management
              comrriittee controlIing apprenticesliip or other training or fetraini~ng,
              includ'ing on-the-job training programs, to discriminate against any
              individual, or for a labor organization to discriminate against any
              member thereof or applicant for membership, because he has opposed
              any practice made an unlawful employment practice by this
              subchapter, or because he has made a charge, testified, assisted, or
              participated in any manner in an investigation, proceeding, or hearing
              under this subchapter.

       96.    In or about January 2018, Ms. Hane complained of an unlawful employment

practice (sexual harassment) to both her supervisor, Elizabeth Hyser, and the Human

Resources department.




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        97.    In or throughout January 2018 to April 2018, Ms. Hane was criticized by

Elizabeth Hyser, her supervisor, for several things, even when she followed rules and

protocol.

       98,     ln or about 1VIarch 2018, Ms. Hane again complained that she was being

sexually harassed.

       99.     In or about April 2018, Defendant forcibly moved Ms. Hane to a busier

location, subsequently taking away any accommodations for her disability.

       100.    It.was only after Ms..Hane complained of sexual harassment that Defendant

took adverse.actions against Ms. Hane by moving her to a busier location and by denying her

accommodation requests.

       101.   The above=ciescribed actions taken by defendant constitute a violation of the

Civil Rights Act of 1964.

       102. As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits..and has suffered and will continu:e to suffer mental and emotional pain

and anguish and coiripensatory damages i.n.ari amount to-be determined at trial.

COUNT 8:'VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT (REPRISAL)

Ms. Hane incorporates the preceding paragraphs and further alleges:

       103.   Minn. Stat § 363A.15, subd. (1), provides in relevant part:

              It is an unfair discriminatory practice for any individual who
              participated in the alleged discrimination as a perpetrator, employer,
              labor organization, employment agency, public accommodation, public
              service, educational institution, or owne'r, lessor, lessee, sublessee,
              assignee or managing agent of any real property, or any real estate
              broker, real estate salesperson, or employee or agent thereof to
              intentionally engage in any reprisal against any person because that
              person:



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              (1) opposed a practice forbidden under this chapter or has filed a
              charge, testified, assisted, or participated in any manner in an
              investigation, proceeding, or hearing under this chapter.

       104. In or about January 2018, Ms. Hane complained .of an unlawful employment

practice (sexual harassment) to Elizabeth Hyser, her supervisor, and to Defendant's Human

Resources department.

       105.   In or about March 2018, Ms. Hane again complained that she was being

sexually harassed.

       106.   In and throughout January 2018 to April 2018, Ms. Hane was continuously

criticized by her supervisor,. Elizabeth Hyser, .for sever.al -things, even when she followed

rules and protocol.

       107. In or about April 2018, Ms. Hane was forcibly moved to a busier location by

Defendant, who subsequently toolc away any accommodations she had for her disability.

       108. It was only after Ms. Hane complained of"harassment that she was forcibly

moved to a different location and that her accommodations were taken away: .

       109. Tlie above-described- actions taken by Defendant-constitute aviolation of the

Minnesota Humari Rights Act.

      110. As a result of these unlawful actions, Ms. Hane has been harmed and has lost

salary and benefits and has suffered and will continue to suffer mental and emotional pain

and anguish and compensatory damages in an amount to be determined at trial.




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      VITHEREFORE, Ms. Hane prays for judgment against the Defendant with the following

relief:

          1.   That the practices of the Deferidants complained herein be adjudged and
declared to be in violation of the rights secured to Ms. Hane by laws prohibiting
discrimination and retaliation;
          2.   That Ms. Hane be awarded compensatory damages for violations of each act,
including lost wages and emotional distress;
          3.   That the Court award Ms. Hane's attorneys' fees, costs, and disbursements
pursuant to statute;
          4.   That Ms. Hane be awarded treble and punitive damages as provided by statute;
and
          5.   That Ms. Hane be awarded any such other relief the Court deerns fair and
equitable.

                                      1URY DEMAND

Ms. Hane demands trial by jury on all counts where jury is available.
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                                                    HEIMERL & LAMMERS, LLC.

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Dated: D 1 • ~~
              ✓"~~__ --- ..                           •'
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                                                                                EXHIBIT 1
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                                                                                           State of Minnesota
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                                 ACKNOWLEDGEMENT

The undersigned hereby acknowledges that pursuant to Minn. Stat. Sec. 549.21 subd. 2, the
Court in its discretion may award costs, disbursements, reasonable attorney's fees and
witness fees to the parties against whom costs, disbursements, reasonable attorney's fees
and witness fees were charged in bad faith.



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                                                Taylor B. Cunni _, -:,am~




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                                                                              EXHIBIT 1
